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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 SUSMAN GODFREY LLP,

                Plaintiff,

         v.
                                                          Civil Action No. 25 - 1107 (LLA)
 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

                Defendants.



                                              ORDER

       Upon consideration of Plaintiff Susman Godfrey LLP’s Motion for a Temporary

Restraining Order (“TRO”), ECF No. 10; the memoranda, declarations, and exhibits submitted in

support thereof, ECF Nos. 10-1 to 10-15; and the arguments presented at the motion hearing held

on April 15, 2025, and for the reasons explained orally at the hearing, it is hereby

       ORDERED that Plaintiff’s Motion for a Temporary Restraining Order, ECF No. 10, is

GRANTED; it is further

       ORDERED that Defendants are ENJOINED from implementing or giving effect to

Sections 1, 3, and 5 of Executive Order 14,263, 90 Fed. Reg. 15615 (Apr. 15, 2025), issued by the

President on April 9, 2025, entitled “Addressing Risks from Susman Godfrey,” including by

relying on any of the statements in Section 1; it is further

       ORDERED that Defendants are DIRECTED to rescind any and all guidance or direction

that has already issued that relates to implementing or enforcing Sections 1, 3, and 5 of Executive

Order 14,236; it is further
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          ORDERED that Defendants are DIRECTED to immediately issue guidance to their

officers, staff, employees, and contractors to disregard Sections 1, 3, and 5 of Executive Order

14,236, and to carry on as if those sections of the Executive Order 14,236 had never issued; it is

further

          ORDERED that Defendants U.S. Department of Justice; Pamela Bondi, in her official

capacity as U.S. Attorney General; the Office of Management and Budget; and Russell Vought, in

his official capacity as Director of the Office of Management and Budget, are DIRECTED to

immediately issue guidance to all other agencies subject to Executive Order 14,236 to suspend and

rescind any implementation or enforcement of Sections 1, 3, and 5 of Executive Order 14,236; it

is further

          ORDERED that Defendants are DIRECTED immediately to (1) communicate to every

recipient of a request for disclosure of any relationship with Susman Godfrey LLP or any person

associated with the firm, made pursuant to Section 3(a) of Executive Order 14,236, that such

request is rescinded until further order of the court; and (2) cease making such requests for

disclosure, pursuant to Section 3(a) of Executive Order 14,236, until further order of the court; it

is further

          ORDERED that Defendants are DIRECTED to take, in good faith, any other steps that

are necessary to prevent the implementation or enforcement of Sections 1, 3, and 5 of Executive

Order 14,236 during the effective period of this order, until further order of the court; it is further

          ORDERED that Defendants shall file a status report on or before 5:00 p.m. on Wednesday,

April 16, 2025, describing the steps taken to ensure compliance with this order and certifying

compliance with its requirements; and it is further




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        ORDERED that the parties shall file a joint status report on or before 5:00 p.m. on

Wednesday, April 16, 2025, proposing a schedule to govern further proceedings in this case; and

it is further

        ORDERED that this order shall remain in effect until further order of the court.

        SO ORDERED.




                                                    LOREN L. ALIKHAN
                                                    United States District Judge
Date: April 15, 2025




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